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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERMA LLOYD                          :                                 CIVIL ACTION
                                    :
               v.                   :
                                    :                                 NO. 08-2976
ACADEMY COLLECTION SERVICES, et al. :


                                                ORDER

               AND NOW, TO WIT: This 14th               day of November, 2008,
it having been reported that the issues between the parties in the above action has been settled
and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of
Civil Procedure of this Court , it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.




                                                      MICHAEL E. KUNZ, Clerk of Court


                                                      BY:     s/Lynn Meyer
                                                                  Lynn Meyer
                                                                  Deputy Clerk

cc:             Robert Cocco, Esquire (e-mail)
                Dean Malik, Esquire (e-mail)
                Andrew Schwartz, Esquire (e-mail)

O:\41(b) Orders to Dismiss\Lloyd v. Academy 08-2976 - 41b order.wpd
